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                 Exhibit H




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February 19, 2024

Attn: Gary Brotman
      Witness/Witness’ Counsel
      Via Email

Re:
Deposition of Geary Sha
Geary Sha vs. Aircraft Service International, Inc., et al.
02/06/2024


The transcript (and exhibits) from the deposition taken on February 06, 2024 are now available for you to
view online. Your access to this transcript is limited to viewing online – you may not download, print or
copy-and-paste the transcript content, and the link will expire on 3/21/2024.

Click here to access PDF VIEW-ONLY transcripts


Please find attached errata pages to make any necessary correction or changes in the transcript and forward
the signed electronic copy to production@aptuscr.com.

The Original transcript and any exhibits will remain in our custody until the allotted review period, or the
above process is completed. Upon receipt of the completed forms, we will send an electronic copy to all
ordering counsel. The signed errata and certificate will be attached to the Original transcript and will be
released to the custodial counsel.

Should you have any questions, please contact our Production department. Thank you.

Sincerely,

Production Department
Aptus Court Reporting
P: 619.546.9151
F: 619.546.9152
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